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                                   8                               UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
                                  10
                                        CURTIS CRENSHAW,
                                  11                                                  Case No. 18-cv-01319-RS (PR)
                                                      Plaintiff,
                                  12
Northern District of California




                                               v.
 United States District Court




                                                                                      JUDGMENT
                                  13
                                        BROUCH, et al.,
                                  14
                                                      Defendants.
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                                  16
                                  17          This federal civil rights action having been dismissed without prejudice, judgment
                                  18   is entered in favor of defendants.
                                  19          IT IS SO ORDERED.
                                  20               26 2018
                                       Dated: June ___,
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                                                                                           RICHARD SEEBORG
                                  22                                                     United States District Judge
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